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                                IN THE I.INITED STATES DISTRICT COURT
                                 FOR THE V/ESTERN DISTRICT OF TEXAS
                                             V/ACO DIVISION


 STEPHEN MELLGREN                                            $
     Plaintiff                                               $
                                                             $                         6:19-cv-00702
VS                                                           $             C.A. NO
                                                             $
SELECT PORTFOLIO SERVICING, INC,                             $
AS MORTGAGE SERVICER FOR                                     $
U.S. BANK NATIONAL ASSOCIATION,                              $
AS TRUSTEE, SUCCESSOR IN INTEREST                            $
TO V/ACHOVIA, N.A. AS TRUSTEE FOR                            $
CHASE MORTGAGE FINANCE TRUST                                 $
SERIES 2OO5-AZ                                               $
   Defendant                                                 $


                                 DEFENDANT'S NOTICE OF REMOVAL

            Defendant, Select Portfolio Servicing, Inc. as Mortgage Servicer for U.S. Bank, N.4.,

Successor Trustee          to Wachovia Bank, N.4., as Trustee, for the Chase Mortgage Finance Trust

Multi-Class Mortgage Pass-Through Certificates, Series 2005-A2 (as improperly named) ("SPS"

or "Defendant") hereby removes this case from the 66th District Court of Hill County, Texas to

the United States District Court for the Western District of Texas, Waco Division. Defendant

denies the claims and damages alleged                 in Plaintiffs Original Petition and files this Notice

without waiving any claims, defenses, exceptions, or obligations that may exist in its favor in

state or federal court.

                                            I.        INTRODUCTION

           1.          On November 26, 2019, Plaintiff Stephen Mellgren              ("Plaintiff')   commenced this

action by filing Plaintiff s Verified Application for Temporary Restraining Order and Injunction

(the "Complaint"), Cause No. CV763-19DC in the 66th District Court of Hill County, Texas

(the úrState Court        Action").   See   Exhibit   C-l.       The State Court Action was filed for purposes   of


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delaying or preventing a foreclosure sale by Defendant on real property located al1237 Overlook
          'Whitney,
Court,                  Texas 76692 (the "Property").1 On December 2,2019, Plaintiff obtained an ex

parte Temporary Restraining Order precluding foreclosure by Trustee for 14 days. See Exhibit

c-3.

           2.          Pursuant    to 28 U.S.C.A. $     1446(b) (V/est)         of the Federal Rules of          Civil

Procedure, this Notice         of Removal is timely filed within thirty (30) days of Defendant's first

receipt of the initial state court pleading.2

                             il.   PLEADINGS AND NOTI CE TO STATE COURT

           3.          True and correct copies of all pleadings, process, orders and other filings in the

State Court Action are being filed along with this Notice of Removal as requiredby 28 U.S.C.A.

g 14a6(a). Pursuant to 28 U.S.C.A. $ 1446(d), written notice of this removal is being served on

Plaintiff and filed in the State Court Action.

         III.    STATEMENT OF STATUTORY BASIS FOR JURISDICTION AND VENUE

           4.          This action is within the original jurisdiction of the United States District Court

pursuant to 28 U.S.C.A. $ 1332(aX1) (West). That statute provides, in pertinentpart, that "the

district courts shall have the original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between

citizens of different States."3 Venue is proper in this district under 28 U.S.C.A. $ laal(a) (West)

because the state court where the State Court Action has been pending is located                      in this district.

As discussed in detail below, this action satisfies the statutory requirements for diversity of

citizenship jurisdiction.




     See Complaint at tf 5.
2
     Bd. of Regents of Univ. of Texas Sys. v. Nippon Tel.   &   Tel, Corp.,478 F.3d 274,278 (5th Cir. 2007).
3
     28 U.S.C.A. $ 1332(a)(1).
                                                            2
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                                          IV. DIVERSITYJURISDICTION
            A.         Citizenship of the Parties

            5.         This civil action involves a controversy between citizens of different states.

            6.         Plaintiff is a citizen of Texas for diversity purposes as he resides and is domiciled

in the state of Texas.a

            7.         Defendant, Select Portfolio Servicing, Inc., is a Utah Corporation. A corporation

is deemed to be a citizen of (1) every state where it has been incorporated and (2) the state where

it   has its principal place of business (i.e. its "nerve center").s Defendant is a Utah corporation

with its principal place of business in Salt Lake City, Utah. SPS is not incorporated in Texas,

nor is its principal place of business located in Texas. Therefore, SPS is a citizen of Utah for

purposes of diversity j urisdiction.

            8.         Although not named specifically as a party, U.S. Bank, N.4., Successor Trustee

to    Wachovia Bank,          N.4., as Trustee, for the Chase Mortgage                   Finance Trust Multi-Class

Mortgage Pass-Through Certificates, Series 2005-A2 ("Trustee"), is the trustee of a trust. When

determining citizenship of a trust for purposes of diversity jurisdiction, it is the citizenship of the

trustee which controls, not the citizenship of the beneficiaries of the trust.6 U.S. Bank National

Association's articles of association establish that Ohio is its main office. Therefore, Trustee is a

citizenof Ohio for diversity purposes.T

            9.         Because   Plaintiff is a citizen of Texas and Defendant and Trustee are citizens of

states other than Texas, there is complete diversity                  of citizenship among the parties. See              28

U.S.C.A. $332(cX1) (West).

a     See Complaint at tf 2.
s     28 U.S.C.A. $ 1332(c)(1).
6     Nqvarro Søv. Ass'nv. Lee,446 U.S. 458,464,100 S. Ct. 1779,64L.F;d.2d 425 (1930).
7     28 U.S.C.A. $ 1348 (West); I4lqchovia Bqnkv. Schmidt,546 U.S. 303,307,126 S. Ct. 941,163L.Bd.2d797
      (2006) ("[A] national bank, for 1348 purposes, is a citizen of the State in which its main office, as set forth in its
      articles of association, is located.").
                                                              1

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            B.         Amount in Controversv

            10.        This case places an amount in controversy that exceeds the $75,000 threshold. A

party may remove an action from state court to federal court              if the action is one over which the

federal court possesses subject matter jurisdiction.s Such jurisdiction exists as long as the parties

are completely diverse and the amount in controversy exceeds $75,000.00.e

            1   1.     When ascertaining the amount       in   controversy   in the context of a motion          to

remand, district courts query whether a plaintiffs state court petition, as it existed at the time               of

removal, alleged damages in excess of the statutory minimum.l0

            12. If the Complaint does not allege a specifîc amount of damages, the removing
party must prove by a preponderance of the evidence that the amount in controversy requirement

is satisfied.rr The removing party satisfies this burden            if the court finds it "facially     apparent"

that the plaintiffs claimed damages likely exceed $75,000.00.12 In this instance, Plaintiffs

Complaint makes it apparent that the amount in controversy exceeds $75,000.00.

            13,        In the Complaint, among other things, Plaintiff contests Defendant's right                to

foreclose and seeks injunctive relief precluding foreclosure by Trustee.l3 This has had and                       if
successful        will have the effect of precluding Trustee from exercising its contractual and legal

right to foreclosure on the Property based on a first lien mortgage held by Trustee that is in

default.

            14,        The value of the Property for 2019 according to the      Hill County Appraisal District

is no less than $609,080.00, See Exhibit D.

I     See28 U,S.C.A. $ 14al(a).
9
      See28 U.S.C.A. $ 1332(a).
l0
     See S.l/.,S. Erectors, Inc. v. Infax, Inc.,72 F'3d 489, 492 (5fh Cir. 1996).
1l
     See Lewis v. State Farm Lloyds,205 F. Supp. 2d 706,708 (S.D. Tex. 2002) citing De Aguilar v. Boeing Co.,    ll
     F.3d 55,58 (5thCir. 1993); see also Møngunov. Prudential Prop, & Cqs. Ins. Co.,276F.3d720,723 (sthCir.
     2002) (explaining that the removing party bears the burden of showing that federal jurisdiction exists and that
     removal is proper).
t2
     Allen v. R & H Oil & Gas Co.,63 F.3d 1326, 1335 (5th Cir. 1995).
l3
     See Complaint Generally and specifically at !f 8 requesting injunctive relief'

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          15.      Federal jurisdiction can be established by facts alleged in the petition for removal

that support a conclusion that the amount in controversy requirement is satisfied.la "In actions

seeking declaratory or injunctive relief,          it is well   established that the amount in controversy is

measured by the value of the object of the litigation."rs Plaintiff seeks relief which has and                     will

preclude enforcement of the contractual loan obligations and Defendant's right to obtain title and

take possession of the subject property.l6

          16.      "[W]hen the validity of a contract or a right to property is called into question in

its entirety, the value of the property controls the amount in controversy."lT "[T]he amount in

controversy, in an action for declaratory or injunctive relief; is the value of the right to be protected

or the extent of the injury to be prevented."ls Also, where a party seeks to quiet title or undo a

foreclosure, the object of the litigation is the property at issue and the amount in controversy is

measured by the value of the property.le The value of the subject property in this instance for

diversity purposes is no less than $609,080.00 per the records of the Hill County Appraisal District

for 2019.      See Exhibit    D. The value of the Property in this instance satisfies the jurisdictional
amount of $75,000.00 for diversity pulposes and the claim for attomey's fees further supports the

requisite amount in controversy for diversity jurisdiction.




t4    Menendez v. Ilal-Mart Stores, Lnc.,364 F. App'x 62,66 (5th Cir, 2010) (unpublished) (ciring Garcia v. Koch
      Oil Co. of Texas Inc.,35l F.3d 636,638-39 (5th Cir' 2003).
ts    Hunt v. Washington State Apple Advert. Comm'n,432 U.S, 333,347,97 S, Ct. 2434,53 L. Ed. 2d 383 (U.S.
      te11).
16    See Complaint Generally and specifically at !f8.
t'Ì   Wqller v. Prof I Ins. Corp. , 296 F .2d 545, 54748 (5th Cir' 1961).
r8    Webb v. Investacorp, Inc.,89 F.3d252 (5th Cir. 1996), citng Leininger v. Leininger,70s F.2d 727 (sth Cir. 1983).
re    See Berryv. Chase Home Fin., ZZC, No. CIV,A. C-09-116,2009WL2868224, at
                                                                                       *2 (S.D. Tex. Aug.27,2009).

                                                            5
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                                              V. JURY DEMAND
            17.        Plaintiff has made no known jury demand in the State Court Action.

                                               VI. CONCLUSION
            18.        For the foregoing reasons, Defendant asks the Court to remove this suit to the

United States District Court for the Western District of Texas, Waco Division.

                                                    Respectfully submitted,

                                                    By : /s/ Michael F. Hord Jr
                                                        Michael F. Hord Jr.
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                                                    ATTORNEYS FOR DEFENDANT


                                       CERTIFICATE OF SERVICE

           I
        hereby certifr that on this l0thday of December, 2019, atrue and correct copy of the
foregoing andlor attached was served on each attorney of record or party in accordance with
Federal Rule of Civil Procedure 5(b) as follows:

                                              Stephen D. Howen
                                          Law Office of Steve Howen
                                         7111 Bosque Blvd., Suite 305
                                             Waco, TX767I0
                                      Via Email and U.S. Regular Mail


                                                   /s/ Michael F. Hord Jr.
                                                   Michael F. Hord Jr.



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